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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 JANE DOES 1-14, on their own behalf and
 on behalf of all others similarly situated,
                                                  Case No. 1:21-cv-05683
               Plaintiffs,
                                                  Judge John F. Kness
        v.
                                                  Mag. Judge Jeffrey I. Cummings
 NORTHSHORE UNIVERSITY
 HEALTHSYSTEM,

               Defendant.


                    AGREED JOINT SUPPLEMENT TO
            MOTION FOR CERTIFICATION OF SETTLEMENT CLASS
        AND PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Pursuant to Fed. R. Civ. P. 23(e), Plaintiffs Jane Does 1-13 (“Plaintiffs”) and Defendant

NorthShore University HealthSystem (“NorthShore”), by and through their respective undersigned

counsel, hereby jointly provide for the Court’s review and approval the following additional

documents related to the parties’ Settlement Agreement, which this Court preliminarily approved

on August 5, 2022 (dkt. 113):


       1)     Proposed Notice Plan (attached as Exhibit A);

       2)     Proposed Notice of Class Action Settlement (attached as Exhibit B);

       3)     Proposed Settlement Claim Form (attached as Exhibit C); and

       4)     Proposed List of Settlement Deadlines (attached as Exhibit D).


       The parties understand that the Court intends to “enter [a] separate preliminary approval

order.” (Dkt. 113). The parties respectfully request that the Court’s forthcoming order include
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approval of the items submitted herewith, and include the appropriate deadlines agreed upon by

the parties (Exhibit D).

       As the deadlines proposed by the parties anticipate the sending of the Notice and Claim

Form to Settlement Class Members on September 13, 2022, the parties respectfully request the

Court’s preliminary approval order to be issued prior to August 31, 2022, if such is possible and

convenient for the Court, to enable the parties and the Settlement Administrator to timely prepare

the necessary documents and actions. The parties stand ready for any follow-up status conference

or discussion that the Court deems necessary.

Dated: August 17, 2022                                      Respectfully submitted,

s/ Horatio G. Mihet                             s/ Kevin P. Simpson
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                                CERTIFICATE OF SERVICE


       I hereby certify that on August 17, 2022, I caused a true and correct copy of the foregoing

to be electronically filed with the Court. Service will be effectuated on all counsel of record via

the Court’s ECF/electronic notification system.


                                                            /s/ Horatio G. Mihet_________
                                                            Horatio G. Mihet

                                                            Attorney for Plaintiffs




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